 Case 17-00439        Doc 53    Filed 06/27/19 Entered 06/28/19 09:22:10             Desc Main
                                  Document      Page 1 of 1
                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                      )               BK No.:     17-00439
Clement Perry                               )
                                            )               Chapter: 13
                                            )
                                                            Honorable Donald R. Cassling
                                            )
                                            )
                Debtor(s)                   )

                                   ORDER MODIFYING PLAN

    This matter coming to be heard on Debtor's Motion to Modify Plan, IT IS HEREBY
ORDERED:

  1. The Debtor's requested modification of his plan is approved as follows:

          A. Debtor's default in plan payments is deferred to the end of the Plan;

          B. The Plan base amount remains the same.




                                                         Enter:


                                                                  Honorable Donald R. Cassling
Dated: June 27, 2019                                              United States Bankruptcy Judge

 Prepared by:
 Kari A. Beyer
 Attorney for Debtor
 ARDC ID# 6291397
 LAF
 120 South LaSalle Street, Suite 900
 Chicago IL 60603
 Phone: 312-347-8349
 kbeyer@lafchicago.org
